 

Case 6:21-cv-00053-NKM Document1 Filed 10/21/21 Page1lof5 Pageid#: 1

Pro Se 4 (Rev. 12/16) Complaint for a Civil Case Alleging Breach of Contract

CLERK'S OFFICE U.S. DIST. COURT

UNITED STATES DISTRICT COURT 8 eae

for the OCT 21 2021

Western District of Virginia

JULIAIC. DUBLEY, CL
Civil Division TY CLERK

John Parlante

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
[f the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-y-

Liberty University et. al.

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

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(to be filled in by the Clerk's Office)

Jury Trial: (check one) [X] Yes [[] No

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COMPLAINT FOR A CIVIL CASE ALLEGING BREACH OF CONTRACT
(28 U.S.C. § 1332; Diversity of Citizenship)

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

John Parlante /
1500 Fremont Street

Las Vegas, Clark County
Nevada, 89101
916-666-5356

jparlante(@ libertv.edu

Page | of 5
 

Case 6:21-cv-00053-NKM Document1 Filed 10/21/21 Page 2of5 Pageid#: 2

Pro Se 4 (Rev. 12/16) Complaint for a Civil Case Alleging Breach of Contract

B.

The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,

include the person's job or title (jfknown). Attach additional pages if needed.
Defendant No. |

 

 

 

 

 

Name Liberty University
Job or Title fifiown)

Street Address 1971 University Blvd
City and County Lynchburg

State and Zip Code Virginia, 24515
Telephone Number 434 582-2000

 

E-mail Address (if known)

 

Defendant No. 2

 

 

 

 

 

Name Dr. Michael Hart

Job or Title (if known) Professor

Street Address 1971 University Blvd
City and County Lynchburg

State and Zip Code

Telephone Number

 

E-mail Address (known)

 

Defendant No. 3

Name

 

Job or Title (if known)

 

Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

E-mail Address (if known)

 

Defendant No. 4

Name

 

Job or Title (if down)

 

Street Address

 

City and County

 

State and Zip Code

 

Telephone Number

 

Page 2 of 5
Case 6:21-cv-00053-NKM Document1 Filed 10/21/21 Page 3o0f5 Pageid#: 3

Pro Se 4 (Rev. 12/16) Complaint for a Civil Case Alleging Breach of Contract

 

II.

E-mail Address ¢ifknown)

 

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Under 28 U.S.C. § 1332, federal courts may
hear cases in which a citizen of one State sues a citizen of another State or nation and the amount at stake is
more than $75,000. In that kind of case, called a diversity of citizenship case, no defendant may be a citizen of
the same State as any plaintiff. Explain how these jurisdictional requirements have been met.

A. The Plaintiff(s)

1. If the plaintiff is an individual
The plaintiff, (name) John Parlante , is a citizen of the

 

State of fname) Nevada

 

2. If the plaintiff is a corporation
The plaintiff, (name) , 1S incorporated

 

under the laws of the State of (name) ;

 

and has its principal place of business in the State of (same)

 

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff)

B. The Defendant(s)

 

1. If the defendant is an individual
The defendant, fame} Liberty University .iS8 a citizen of
the State of frame) = Virginia . Or is a citizen of

 

(foreign nation)

 

 

2. If the defendant is a corporation
The defendant, (name) , 18 incorporated under
the laws of the State of (name) , and has its

 

principal place of business in the State of (name)

 

Or is incorporated under the laws of (foreign nation) ;

 

and has its principal place of business in (name)

 

Page 3 of 5
 

Case 6:21-cv-00053-NKM Document1 Filed 10/21/21 Page4of5 Pageid#: 4

Pro Se 4 (Rev. 12/16) Complaint for a Civil Case Alleging Breach of Contract

 

 

Il,

IV.

(if more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

Cc. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—-is more than $75,000, not counting interest and costs of court, because (explain):

The University is running a multiple-year diploma mill program using unqualified and unsupervised
professors, (one of whom is fundamentally dishonest) that refuse to follow orders from the disabled
student's department while incurring massive debts in the form of student loans.

 

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

 

 

The plaintiff, (zame) John Parlante , and the defendant,
(name) Liberty University , made an agreement or contract on
(date) 4/27/2018 . The agreement or contract was (oral or written) written . Under that

agreement or contract, the parties were required to (specify what the agreement or contract required each party to do)

Liberty University to provide education services and for the plaintifff to pay for the services.

 

The defendant failed to comply because (specify what the defendant did or failed to do that jailed to comply with what the
agreement or contract required)

Defendant uses unqualified and unsupervised professors that moonlight at multiple univerities and retaliate
against students as well as fail to properly do their job timely.

 

The plaintiff has complied with the plaintiff's obligations under the contract.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

Page 4 of 5
Case 6:21-cv-00053-NKM Document1 Filed 10/21/21 Page5of5 Pageid#: 5

Pro Se 4 (Rev. 12/16) Complaint for a Civil Case Alleging Breach of Contract

The (defendant) University insists on being paid additional money in order to graduate, for classes already
completed. It failed to investigate a professor for civil rights violations (of plaintiff) and it refuses to fix mistakes
that it has made toward plaintiff.

Plaintiff demands all his tuition money be refunded with interest plus an additional $300,000 for lost opportunity
and the intentional infliction of emotional stress. Plaintiff is disabled and cannot both work a job and finish the
program. The amount of debt generated thus far is massive and interest accrues continuously.

V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, | certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be

served. | understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 10/14/2021
. — MW fy
Signature of Plaintiff t. bi
Printed Name of Plaintiff John Parlante
B. For Attorneys

Date of signing:

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code
Telephone Number
E-mail Address

Page Sof 5
